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 1
                      UNITED STATES DISTRICT COURT
 2                         DISTRICT OF NEVADA
 3                                -oOo-
 4   UNITED STATES OF AMERICA,         )
                                       )
 5               Plaintiff,            )
                                       )
 6               v.                    )
 7                                     )       CASE NO. 2:13-cr-00018-JCM-GWF
     LEON BENZER, et al.               )
 8                                     )
                 Defendants.           )
 9                                     )
     UNITED STATES OF AMERICA,         )
10                                     )
                 Plaintiff,            )       CASE NO. 2:14-CR-041-JCM-PAL
11                                     )
                 v.                    )
12                                     )
     MIGUEL AVILA                      )
13                                     )

14               Defendant.            )
                                       )
15   UNITED STATES OF AMERICA,         )
                                       )
16               Plaintiff,            )
                                       )
17               v.                    )       CASE NO. 2:12-cr-00113-JCM-VCF
                                       )
18   ROSALIO ALCANTAR, et al.          )
                                       )
19
                 Defendants.           )
20                                     )
     UNITED STATES OF AMERICA,         )
21                                     )
                 Plaintiff,            )
22                                     )
                 v.                    )       CASE NO. 2:11-cr-00336-JCM-GWF
23                                     )
     MARY ANN WATTS                    )
24                                     )
25               Defendant.            )
26




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     UNITED STATES OF AMERICA,                      )
 1                                                  )
                      Plaintiff,                    )       CASE NO. 2:11-cr-00339-LDG-GWF
 2                                                  )
                      v.                            )
 3                                                  )
     DEBORAH GENATO,                                )
 4                                                  )
 5                    Defendant.                    )
                                                    )
 6   UNITED STATES OF AMERICA,                      )
                                                    )
 7                    Plaintiff,                    )       CASE NO. 2:11-cr-00382-GMN-GWF
 8                                                  )
                      v.                            )
 9                                                  )
     DENISE KESER,                                  )       FINAL OMNIBUS RESTITUTION
10                                                  )       ORDER
                      Defendant.                    )
11

12
              Based on findings made during the sentencings of the individual defendants enumerated
13
     below, the Court hereby enters the following order regarding restitution in the above-captioned
14
     cases.
15
              The following defendants are ordered to pay up to the following dollar amounts, jointly
16
     and severally,
17
                                              ion payments received, 99.8% shall be directed to the
18
     Vistana HOA, and 0.2% shall be directed to the Park Avenue HOA, as is commensurate with
19
     their share of the restitution awards.
20

21
                                                                          Restitution Amount
22                                                                        (Joint and Several
                 Defendant Name                 Case Number                    Liability)
23             Alcantar, Rosalio         2:12-cr-00113-JCM-VCF                      $25,826.20
24             Alvarez, Jose Luis        2:13-cr-00018-JCM-GWF                     $184,200.84
               Alvarez, Rudy             2:13-cr-00018-JCM-GWF                     $119,585.81
25             Anderson, Ricky           2:13-cr-00018-JCM-GWF                      $41,642.49
26             Avila, Miguel             2:14-cr-00041-JCM-PAL                      $21,000.00
               Benzer, Leon              2:13-cr-00018-JCM-GWF                  $12,228,913.40



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             Bolten, Robert            2:12-cr-00113-JCM-VCF                    $135,932.36
 1
             Brown, Glenn              2:12-cr-00113-JCM-VCF                       $5,295.00
 2           Deluca, Michelle          2:12-cr-00113-JCM-VCF                      $10,000.00
             Genato, Deborah           2:11-cr-00339-LDG-GWF                      $30,000.00
 3
             Gillespie, Edith          2:13-cr-00018-JCM-GWF                      $85,780.00
 4           Gregory, Keith            2:13-cr-00018-JCM-GWF                 $12,154,913.401
             Hawkins, Charles          2:12-cr-00113-JCM-VCF                    $147,884.00
 5
             Hindiyeh, Sami            2:12-cr-00113-JCM-VCF                       $6,000.00
 6           Jones, Brian              2:12-cr-00113-JCM-VCF                      $10,000.00
             Keser, Denise             2:11-cr-00382-GMN-GWF                      $16,000.00
 7
             Limon, Maria              2:13-cr-00018-JCM-GWF                      $24,000.00
 8           Mattingly, Morris         2:12-cr-00113-JCM-VCF                    $190,471.03
             McChesney, Charles        2:13-cr-00018-JCM-GWF                    $100,000.00
 9
             Watts, Mary Ann           2:11-cr-00336-JCM-GWF                      $39,350.00
10           Winkler, Jeanne           2:12-cr-00113-JCM-GWF                      $47,000.00
11

12          These funds should be directed to the following:
13                  Vistana HOA: Attn: Richard Haskin, 7450 Arroyo Crossing Parkway, Suite 270,
14                  Las Vegas, NV 89113
15                  Park Avenue HOA: Park Avenue Homeowners Association, c/o FirstService
16                  Residential, 8290 Arville Street, Las Vegas, NV 89139
17          In addition, once Defendant Leon Benzer has satisfied his mandatory restitution to the
18   above-listed HOAs (or other defendants have paid the $12,228,913.40 he owes to those HOAs),
19   Defendant Leon Benzer is hereby ordered to pay $1,165,186.81 in restitution to the United States
20   Treasury, pursuant to the restitution award in United States v. Benzer, Case No. 2:13-cr-174-
21   KJD-CWH. These funds should be directed to: IRS-RACS, Attn: Mail Stop 6261, Restitution,
22   333 W. Pershing Ave., Kansas City, MO 64108.
23   /
24   /
25   1
            The Court originally ordered Defendant Gregory to pay $12,604,913.40 in restitution.
26          However, Defendant Gregory should have received a credit for the $450,000 paid to
            Silver Lining Construction but ultimately recovered by the Vistana HOA, and his
            restitution amount is hereby reduced by that amount.


                                                     3
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 1   IT IS SO ORDERED.
            August 10, 2015
 2   Dated: ____________

 3

 4                      ENTERED: _________________________

 5

 6                                 United States District Judge

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